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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.1 Filed 02/28/17 Page 1 of 63 (, 2

MIED ProSe 1. (Rev 5/16) Complaint for a Civil Case

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

OTIS Wittinms TIL

(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional

page with the full list of names.)

v. “SEE ATTACHED”

(Write the full name of each deféndant Who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page

with the full list of names.)

4: -10637
Case:4:17-cv 106
Judge: Parker, Linda V.

id R.

MJ: Grand, David ag OM
Sg 02-28-2017 At 04:38

CMP Wl LIAMS VAN CAMP ET AL (NA)

(to he filled in by the Clerk's Office)

Jury Trial: Xx Yes i_| No
(check one)

Complaint for a Civil Case
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.2 Filed 02/28/17 Page 2 of 63

fro Se | (Rev. (2/16) Complaint fora Civil Case

UNITED STATES DISTRICT COURT

for the
SC a
aegeonrf _ District of Mictae-and

___ Division

Or+is Wi; /h ams Lf

) Case No.
“OEE Ath icher," (to be filled in by the Clerk’s Office)
Plaintiff(s) }
(Write the fidl name of each plaintiff who is filing this complaint. tate pap, 71 <- {
Lf the panies ofall the plaintiffs cannot fit in the space abcve, ) Jury Trial: (check one) IX! bes |_|No
please write “see attached” in the space and aitach an additional }
pase with ihe full list of names.) }
“Yo )
ti g Ad- oe if }
EE +AcHE bd )
" Defendant(s) )
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page )

with the full list of names.)

COMPLAINT FOR A CIVIL CASE

i. The Parties to This Complaint
A. The Plaintiff(s)

op

Provide the information below for each plaintiff narned in the complaint. Attach additional pages

needed.
Name Chis W Wh ams.
Street Address & “oe ee he. Ave
City and County New Orlean S
State and Zip Code _leuigane a
Telephone Number

E-mail Address

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (finown). Attach additional pages if needed.

Page | of 3
Case 2:17-cv-10637-SFC-DRG .ECF No. 1, PagelD.3 Filed 02/28/17 Page 3 of 63

Defendant No. 1

Name

Job or Title (i known)
Street Address — .
City and Courity
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 2

Name

Job.or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if knows)

Defendant No. 3

Name

Job or Title (Gf known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address of known)

Defendant No. 4

Name

Job or Title (if ieown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known}

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Michigan. 4809 9.
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Warren, _Macomb County

Michigan — HROF

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Page 2 af 3
ro Seb Rev. t2/to} Complaint fora Civil Case

Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.4 Filed 02/28/17 Page 4 of 63

Defendant No. §

Name

Job or Title (iowa)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (ifkncwn)

Defendant No. &

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number —
E-mail Address (if known)

Defendant No.7

Name

Job or Title (if known)
Street Address

City and County
State and Zip ode
Telephone Number

E-mail Address (if known)

Defendant No. ¥

Name

Job or Title (finown)
Street Address

City and Couniy

State and Zip Code
Telephone Number
E-mail Address (if/atown)}

JP Moe an Chise. / James D im on
CEB of (JP Moan Chase

270. ke nek Avenue.

‘New. York, New York County
NewYork... 0005

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200 Duck Avenue .

New Vouk. Noy spe County —

“New York

JP Mogan. Chese/ DAnel E, Pritt

AIO PaRrK Avenue-

New Vor, New York County

New Nock. .

Rentbay,. LLC / Vi py Cia

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Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.5 Filed 02/28/17 Page 5 of 63

Pie Se 1 (Rev, 12/16) Complaint for 2 Civil Case

Defendant No. #
Name

Paunilbinb: Mortgace Servicing | ‘DAvin Woraaee
CBB. oe

Job or Title ("lown)

Street Address PO - yo y... i907 SG
City and County Char | ote

State and Zip Code Netty Ceceline

we BP -940F
B11 - Yabo - BF OS

Telephone Number
E-mail Address (f known)

Defendant No. 2@
‘Name Rouaptak Morkacge. Seevicing / Kewid Bauungarelt-
Job or Title (if known) _ a

Street Address Do Box. 19 4 oF Oo

City and County ChicloHe ce oe

Nerth (aralinews ABR

371 -42-b - B8OS

State and Zip Code

Telephone Number
E-mail Address (if mown)

Defendant No. #7
Name

Job or Title (known)

Wells Facgo./ Timothy J. Sean
CEO

Street Address 2 OO. M lo at pine ry § ty ¢ ef
City and County SON FRanesca,
/

State and Zip Code
Telephone Number

E-mail Address (if known}

Defendant No. #2

Narne

Job or Title (ifimown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (ifinown)

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BOO. 268-60

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Pie Sel (Rev_ 12/16) Complaint for a Civil Case

Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.6 Filed 02/28/17 Page 6 of 63

Defendant No. 13

Name Ste dee, ey. Cloly, { an vestugs ¢ / i\ li chip n Chepeel
Job or Title (iknown) "pres ict ok

Street Address AS A HK: oth ub 20; 7 Huy.

City and County Seuthfe Lf Orrkleand Covinty

State and Zip Code: . Mick bute Neg — yO |

Telephone Number

E-mail Address (if known)

Defendant No. 24

Name “KAubreon. Reilly. Group. uc] Cera tiled Pp, Jacog
Job or Title (if sown) Cl Ee oO.

Street Address 3 acl Becky Oreck Daye Ve; | Ste. ICO

City and County — Missenci Ci Mh ee nent

State and Zip Code “TekLas TST. pe ce ee

Telephone Number

E-mail Address (if known)

Defendant No. 7”

Job or Title (if kmown) AL 2 Parlner fea Pulver ‘Real iy Ceep Lie
Street Address Jeo. Week ley lake B Ref

City and County Prleromrfield. Hills, OAdarel Cou aby

State and Zip Code Michiga: O.. ‘dg 204

Telephone Number 'B4g - ~ bY -SSOO -

E-mail Address (if known)

Defendant No. #¥

Name Deiiteche. “Bank nia / Jou Mictae cay
Job or Title (if imown) _ CEQ. _

Street Address R Wa | | tree

City and County New York. New Vark County ‘
State and Zip Code New iW York. .
Telephone Number Gp 7-42 /-/500

E-mail Address (ifrown)

Page 2 of 8
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.7 Filed 02/28/17 Page 7 of 63

Pro Set (Rew, 12/16) Complaint for 2 Civil Case

Defendant No: 17

Name Majid Shaccef

Job or Title (if knowa)

Street Address — if! 1G. 15 D. “Bewkeley 22

City and County “Detrent, Way NE ti Dury

State and Zip Code Michi (OD TW 2 Q /
LONE

Telephone Number

E-mail Address (if known)

Defendant No. 2¥

Name DAvVip. BYE

Job or Title (if known)

Street Address | 9151 Sp. Bei 2. ke lay -

Cityand County = ptr it, Mayne. Couohy oe
State and Zip Code My ich Can... oak 2 L

Telephone Number wy

E-mail Address (if knowr)

Defendant No. 37

Name “Prank of An Ce M 4} Arian Moynihan
Job or Title (if4nown) {i ED _

Street Address 100. Nocth Tyron Strat

City and County ¢ he c/o He,

State and Zip Code No ch Creo Lane, BLASS

Telephone Number TOY = 26 b- -5e /

E-mail Address (if known)

Defendant No. 28.

Name “Rubiten. Beatty | Scott Weaver.

Job or Title (ifinown) CEO.

Street Address 3 aS 1 Boel b Cr eek de, Se ite, WO
* City and County Misseuri. hy

State and Zip Code Te CxAS 2. “THIS

Telephone Number

E-mail Address (if known)

aye Dot 5
age lai 3
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.8 Filed 02/28/17 Page 8 of 63

Pre Se L (Rev. 12/10) Complaint fora Civil Case

Defendant Nod
Name —
Job or Title (if keewn)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (7 lnewn)

Job or Title Gf known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No23
Narne
Job or Title (if known)
Street Address
City and County
Siate and Zip Code
Telephone Number

E-mail Address (if to1own)

Defendant Noa4
Name
Job or Title (if ciown}
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (ifiaiown)

‘Basu of New Vor Mell on / Cerall { Haseil
CEO.

Ba Liberty Steet

New.Yorks, New York Counsy

New. York

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Brian _G. Pepper

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Detroit cn Wayne

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.9 Filed 02/28/17 Page 9 of 63

Pro Se } (Rev. 12/16) Complaint for a Civil Case _.

IL. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases invelving ii versity of citizenship of the

g p
parties. Under 28 U.S.C. § 1331, a case arismg under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. 3 1332, a case in which 4 citizen of one State sues a citizen of

another State or nation and the amount at stake is more than $75,000 is a diversity oF citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the sarne State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apple)
[| Federal question Xx Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

ersity of Citizenship

B. If the Basis for Jurisdiction Is Div

1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) Otis vf lames , is a citizen of the
State of (name) N uch indo. .
q _. ce eee

b. If the plaintiff is a corporation
The plaintiff, (name) Os Wi Ilams Fam ly “Trust, is incorporated
under the laws of the State of (name) Louisane ;

and has its principal place of business in the State of (name)

l Oultcana)

(f more than one plaintiff is named ir the complaint, attach an additional page providing the
same information for each additional plaintij:)

2. The Defendant(s) .
a. If the defendant is an individual
The defendant, (name) To Hy Vans C AM p os is a citizen of
the State of (name) Michiaen . Oris a citizen of
g oe -o.

(foreign nation)

Page 3 of 5
Pro Se | (Rev. 12/16) Complaint for a Civil Case

Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.10 Filed 02/28/17 Page 10 of 63

Ti.

b. If the defendant is a corporation
The defendant, (name) Soudhuweck Housing Co} cbasy ig incorporated under
the laws of the State of (name) M ichuéeg 0 , and has its
Lg .

principal place of business in the State of (name) NI ich, San
t v -
Or is incorporated under the laws of (foreign nation} Mich gan ;

and has its principal place of business in (eine) Mach gan

(if more than one defendant is named! in the compiaint, attach an additional page providing the
same information for each additional defendant.)

3, The Amount in Controversy 4-00, 000.°°

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
. stake—is raore than $75,000, not counting interest and costs of court, because (explain):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the

facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was

involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including

the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and

write a short and plain statement of each claim in a seperate para graph. Attach additional pages if needed.
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me Tebhe § Asesy EQUAGLE a TRE T> P2cpnty . DeTes begin an Zod then

Quaiea . SH comple te BETALS
Relief"

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.
Zer.e€ Sovrgva Beye Ceawote IS Me Quetny st Tre MERE DECENSANUS
piusDyee BSE.
Dpwwnges Sought ARE pest. Vatu do eRe Feaxvh, STEN Wa Dregne
Gra IDEM [J NCMON +» AETHAE Dam Ses Ate EXWMseRES ON te filowiny Paes.
Paniarl ve DAW ss 2 Be DERwavsn av Levee bem.

Page 4 of 5
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.11 Filed 02/28/17 Page 11 of 63

Continuation of page 4
& = The Defendant(s)

a. If the defendant is an individual
The Defendant, (Name) Tamcthy Thorland is a Citizen of
the State of Michiaan . Oris a citizen of
(foreign nation) ©
b. If the defendant is a corporation
The Defendant (name) So ubhwect Housing, S Sluthone is incorporated under
The laws of the State of (name) _/VJ iChiag Q ,and has its principal
Place of business in the State of (narne) “M ch Igcin
Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (namie) M LcAK ee

g. The Amount in Controversy #lOO OOO

_ The amount in controversy — in the ammount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, net counting interest and costs of court, because (explain):

Decfecked Sseciwed tntered

Continuation of page 4
& ‘The Defendant(s)

c. If the defendant is an individual
The Defendant, (Name) iB ran Moyn thea isa Citizen of ~
the State of _ M0 w/ York . Orisa citizen of
(foreign nation)

d. Ifthe defendant is'a corporation
The Defendant (name) iBank of AMerica, is incorporated under
The laws of the State of (name) New Voerk , and has its principal
Place of business in the State of (narne) New York and M ichiGgen
Or is incorporated under the laws of (foreign nation) °

_ And has its principal place of business in (name)

9. The Amount in Controversy “7 8, OOO

The amount in controversy — in the arnount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, ncotcounting interest and costs of court, because (explain):

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Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.12 Filed 02/28/17 Page 12 of 63

Continuation of page 4

%. The Defendant(s}
a. If the defendant is an individual
The Defendant, (Name) James DiImMoN is a Citizen of
the State of Me i/ York . Oris a citizen of

(foreign nation)
b. If the defendant is a corporation

The Defendant (name) J p MOUCANM CHASE is incorporated under

The laws of the State of (name) AIEW VOC Kk and has its orincipal

Place of business in the State of (narne) NEWYo Ch and MicHté-4K/

Or is incorporated under the laws of (foreign nation)

And has its orincipal place of business in (name)

g. The Amount in Controversy (20,0 OO

The amount in controversy ~ in the amount the plaintiff clairns the defendant owes or the
amount at stake — is more than $75,000, net counting interest and costs of court, because (explain):

“perfected Secured TLrterest

Continuation of page 4
ié. The Defendant(s)

c. If the defendant is an individual _.
The Defendant, (Name) M Aq bY CALL AH AAS E#LO FG Ren of
the Stateotf_ View Vark . Oris acitizen of
(foreign nation)

d. Ifthe defendant is a ccrporation
The Defendant (name) JP MOCGAN CHASE is incorporated under
The laws of the State of (name) AVEn/ Vork and has its principal
Place of business in the State of (name) MEW ove aad Mid Yern/

Or is incorporated under the laws of (foreign nation)

And has its principal place of business in (name)

}3. The Amount in Controversy /20,00Q

The amount in controversy — in the amount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, not counting interest and costs of court, because {explain):

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.13 Filed 02/28/17 Page 13 of 63

Continuation of page 4

2.

(3.

a.

The Defendant(s)

If the defendant is an individual
The Defendant, (Name) DANMEL PINTO is a Citizen of
the State of EW York. . Oris a citizen of
(foreign nation)
If the defendant is a corporation

The Defendant (namie) JP MOoGean CHASE is incorporated under
The laws of the State of (name) NEW York. , and has its principal
Place of business in the State of (name) NEW Yor. & ALICHIG AA

Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

The Amount in Controversy $/20, OOO

The amount in controversy — in the arnount the plaintiff claims the defendant owes of the

amount at stake — is more than $75,000, not couriting interest anc costs of court, because (explain):

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Continuation of page 4

14.

i5.

The Defendant(s)

if the defendant is an individual .
The Defendant, (Name) RB icharel 8S 2eiman _isa Citizen of
the State of _ Michiaan . Oris acitizeno
(foreign nation) v
If the defendant is a corporation

The Defendant (namie) Mole Gd Donerty Nangcecs is incorporated under
The laws of the State of (name) M (Chis n~ and has its principal
Place of business in the State of (name) vM th 144

Or is incorporated under the laws of (foreign nation) 0
And has its principal place of business in (name)

The Amount in Controversy 4100 OOO
t

The amount in controversy — in the amount the plaintiff clairns the defendant owes or the

amount at stake — is more than $75,000, not counting interest ancl costs of court, because (explain):

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.14 Filed 02/28/17 Page 14 of 63

Continuation of page 4

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i7.

The Defendant(s)

If the defendant is an individual —

The Defendant, (Name) ‘RB ichmend . AMGEO. isa Citizen of
the State of ___V] (CH -A+/ . Orisa citizen of
(foreign nation)
If the defendant is a corporation

The Defendant (name) Motor Cty Property Me nagers is incorporated under

The laws of the State of (name) iM tchiae a “ , and has its principal
Place of business in the State of (narne) Michiég ny

Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

The Amount in Controversy #00000

The amount in controversy — in the arnount the plaintiff claims the defendant owes or the

amount at stake - is more than $75,000, not counting interest and costs of court, because (explain):

‘b ctected Secuvedd LN tees t~

Continuation of page 4

12.

19.

The Defendant(s)

If the defendant is an individual
The Defendant, (Name) V23 Ay (TAL. is 9 Citizen of
the State of Michigan . Orisa citizen of
(foreign nation) Y
lf the defendant is a corporation

The Defendant (name) “REMAY LLC is incorporated under
The laws of the State of (name) iv (CH 644 , and has its principal
Place of business in the State of (name) . ML AW & “

Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

The Amount in Controversy q AO, 200

The amount in controversy — inthe amount the plaintiff claims the defendant owes or the

amount at stake — is more than $75,000, not counting interest and costs of court, because (explain):

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Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.15 Filed 02/28/17 Page 15 of 63

Continuation of page 4

26. The Defendant(s)

a. If the defendant is an De
The Defendant, (Name) wstin Chappe. L is a Citizen of
the State of ICA1ag n . Oris a citizen of

(foreign nation)
b. If the defendant is a corporation

The Defendant (name) S Titec st. Global Lavestx. LlGs, incorporated under

The laws of the State of (name) ~ Mich GaN) w , and has its principal

Place of business in the State of (narne) Mie chigan

Or ts incorporated under the laws of (foreign nation) —

And has its principal place of business in (name)

al The Amount in Controversy 4184 000

The amount in controversy — in the amount the plaintiff claims the defendant owes or the
amount at stake —is more than $75,000, not counting interest and costs of court, because we (e xplain):

p ertectect “Spturecl Ty, feresh

Continuation of page 4

2. The Defendant(s}
c. lf the defendant is an individual
The Defendant, (Name) Timethy 4. Sloay is a Citizen of
the State of C a i‘ feardveu . . Oris acitizen of

(foreign nation)
d. if the defendant is a corporation

The Defendant (name) \ VAells Fare 0. is incorporated under

The laws of the State of (name) C aly torn LG , and has its principal

Place of business in the State of (name) Cah bea bree

Or is incorporated under the laws of (foreign nation)

And has its principal place of business in (name)

23. The Amount in Controversy #0, 000

The amount in controversy — in the arnount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, not counting interest and costs of court, because (explain):
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.16 Filed 02/28/17 Page 16 of 63

Continuation of page 4
4. The Defendant(s)

a. If the defendant is an individual
The Defendant, (Name) (sere id p. JAE ab is a Citizen of
the State of Tena & : . Oris a citizen of
(foreign nation)

b. tf the defendant is a corporation
The Defendant (name) Bubyron. Bear bhy Croug is incorporated under
The laws of the State of (name) [€4g@S ‘ , and has its principal
Place of business in the State of (narne) fe YaS
Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

ae. The Amount in Controversy 75) SOO

The amount in controversy — in the amount the plaintiff clairns the defendant owes or the
amount at stake — is more than $75,000, nct counting interest and costs of court, because (explain):

“Dap ec bed <S Ccuerecl f ntere gf

Continuation of page 4
2. The Defendant(s)

c. If the defendant is an individual
The Defendant, (Name) John Michael Cavan is a Citizen of
the State of Ne ws Mork. . Oris a citizen of
(foreign nation)
d. If the defendant is a corporation

The Defendant (name) De rtecde. balk is incorporated under
The laws of the State of (name) New Vark , and has its principal
Place of business in the State of (name) We bf Vork.

Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

Q7. The Amount in Controversy RUS, OVd

The amount in controversy — in the amount the plaintiff claims the defendant owes or the
Amount at stake — is more than $75,000, net counting interest and costs of court, because (explain)

Per fe ated Seemed Lrteresk
Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.17 Filed 02/28/17 Page 17 of 63

Continuation of page 4
2&-. The Defendant(s)

a. If the defendant is an individual
The Defendant, (Name) dO Avip bY is a Citizen of
the State of M ICHIG-AW . Oris a citizen of
(foreign nation) .

b. If the defendant is a corporation
The Defendant (name} is incorporated under
The laws of the State of (name) , and has tts principal
Place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

olf. The Amount in Controversy 4480, O00

The amount in controversy — in the arnount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, not counting interest and cosis of court, because (explain):

* Prbocted Stcurec tLrterest

Continuation of page 4

Bo. The Defendant(s)

c. If the defendant is an individual ,
The Defendant, (Name) VALA Share is a Citizen of
the State of MAIC HI G-AK/ . Oris a citizen of
(foreign nation) .
d. If the defendant is a corporation
The Defendant (name) is incorporated under
The laws of the State of (name) , and has its principal

Place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)
And has its orincipal place of business in (name)

31+ The Amount in Controversy F YSO, OOO

The amount in controversy — in the amount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, not counting interest and,costs of court, because (explain):

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Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.18 Filed 02/28/17 Page 18 of 63

Continuation of page 4

Ba

2B.

The Defendant(s)

If the defendant is an individual
The Defendant, (Name) is a Citizen of
the State of . Or is a citizen of
(foreign nation)
if the defendant is a corporatio

The Defendant (name) lf. Sf. bz Sn/ke is incorporated under
The laws of the State of (name) OLM0 ,and has its principal
Place of business in the State of (name) O70

Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

The Amount in Controversy g 5 050, oe

The amount in controversy — in the amount the plaintiff claims the defendant owes or the

amount at stake — is more than $75,000, not counting interest and costs of court, because (explain):

per, Je ctecl Secured Tn fee

Continuation of page 4

37.

35:

The Defendant(s)

lf the defendant is an individual

The Defendant, (Name) Tim bbe is a Citizen of
the State of LATA . Oris a citizen of

(foreign nation)
If the defendant is a corporation

The Defendant (name) —~Gtect 1h ORT FBLt EO LP Vie le is incorporated under
The laws of the State of (name) UTAS+ , and has its principal
Place of business in the State of (name) UTA

Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

The Amount in Controversy APO. 0?

The amount in controversy — in the amount the plaintiff claims the defendant owes or the

amount at stake — is more than $75,000, not counting interest and costs of court, because (explain):

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.19 Filed 02/28/17 Page 19 of 63

Continuation of page 4

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3)

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a.

b.

The Defendant(s)

If the defendant is an individual

The Defendant, (Name) “Dp Carn (svou ly is a Citizen of
the State of Nichisas _ Or is a citizen of
t

(foreign nation)
if the defendant is a corporation

The Defendant (name) is incorporated under
The laws of the State of (name) and has its principal
Place of business in the State of (narne)
Or is incorporated under the laws of (foreign nation)

And has its principal place of business in (name)

The Amount in Controversy é YT QO) SOO

The amount in controversy — in the amount the plaintiff claims the defendant owes or the

unt at stake — is more than $75,000, net counting interest anc costs of court, because (explain):

“Perkeckéd Security Tinterest

Continuation of page 4

Bs,

39.

The Defendant(s)

If the defendant is an individual

The Defendant, (Name) Sco tf Weaver is a Citizen of
the State of Texgs _ Oris a citizen of

(foreign nation)
If the defendant is a corporation

The Defendant (name) is incorporated under
The laws of the State of (name) and has its principal
Place of business in the State of {name)
Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

The Amount in Controversy 4S; 500

The amount in controversy — in the amount the plaintiff claims the defendant owes or the

amount at stake — is more than $75,000, net counting interest and costs df court, because explain):

“Per fected Secardy Enlerest
Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.20 Filed 02/28/17 Page 20 of 63

Continuation of page 4
48. The Defendant(s)

a. tf the defendant is an individual
The Defendant, (Name) Gerarp Hasse. il is a Citizen of
the State of _N@wi York, . Or is a citizen of
(foreign nation) .
b. tf the defendant is a corporation

The Defendant (name) [atk of Now Vat ke Mellen is incorporated under
The laws of the State of (name) _ N@ ai Mork. , and has its principa!

Place of business in the State of (narne)
Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

Bj, The Amount in Controversy =} 00,0 Oo.°°

The amount in controversy — in the arnount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, not counting interest and costs of court, because (explain):

“Perfected Securtty “Lakerest

Continuation of page 4
#2, The Defendant(s)

c. If the defendant is an individual

The Defendant, (Name) Exic Qi Sebree is a Citizen of
the State of Michican . Oris a citizen of

{foreign nation)
d. Ifthe defendant is a corporation

The Defendant (name) Wayne Coun ty Weasrec is incorporated under
The laws of the State of (name) Michiga OL ___, and nas its principal!

Place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

4A. The Amount in Controversy 7 9,000 ee

The amount in controversy — in the amount the plaintiff claims the defendant owes or the
amount at stake — ismore than $75,000, not counting interest and costs of court, because (explain):

“Perfected Se curdy Lererest
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.21 Filed 02/28/17 Page 21 of 63

Continuation of page 4

The Defendant(s)

if the defendant is an individual

The Defendant, (Name) Kevin Brungacd K is a Citizen of
the State of Neavth Coraline . Orisa citizen of
(foreign nation)
if the defendant is a corporation

The Defendant (name) _AQuad Pink Markea ge Somneine Cong, is incorporated under
The laws of the State of (name) _ Worth Cavaline.s Y ‘and has its principal
Place of business in the State of (narne) Wichre eae

Gr is incorporated under the laws of (foreign nation)
And has its principal place of business in (name) Mears Copel pa

ty 6
The Amount in Controversy YO, e o OO - °

The amount in controversy — in the amount the plaintiff clairns the defendant owes or the

amount at stake — is more than $75,000, not counting interest and casts of court, because {explain}:

pe epdecte ‘ecuredl Lnterest

Continuation of page 4

Ye.

42,

The Defendant(s)

\f the defendant is an individual

The Defendant, (Name) “Dwin Vue eall is a Citizen of
the State of Me tn Caroline : . Orisa citizen of
(foreign nation)
If the defendant is a corporation

The Defendant (name) Bouny 2 ¥O ol Moctzage ey, is incorporated under
The laws of the State of (name) Worth. Carel: nee. , and has its principal
Place of business in the State of (name) _AsicAig an

Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name) Node. Core line

The Amount in Controversy J 0, 000

The amount in-controversy — in the amoynt the plaintiff claims the defendant owes or the

amount at stake - is more than $75,000, net counting interest and costs of court, because (explain):

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.22 Filed 02/28/17 Page 22 of 63

Continuation of page 4
ag. The Defendant(s)

a. Ifthe defendant is an individual
The Defenciant, (Name) ‘Hegn GC. Ce p02 is a Citizen of
the State of Michigan Y" | Orisa citizen of
(foreign nation)

b. ifthe defendant is a corporation
The Defendarit (name) is incorporated under
The laws of the State of (name) and has its principal
Place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)

And has its principal place of business in (name)

a, The Amount in Controversy 75, O00

The amount in controversy — in the amount the plaintiff clairns the defendant owes or the
amount at stake —is more than $75,000, not counting interest and casts of court, because (exnlain):

“Der. fected Security Tnlerest

Continuation of page 4
Se. The Defendanit(s}

c. If the defendant is an individual
The Defendant, (Name) : is a Citizen of
the State of . Orisa citizen of
(foreign nation)

d. If the defendant is a corporation
The Defendant (name) is incorporated under
The laws of the State of (name) and has its principal
Place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)
And has its principal place of business in (name)

oe- The Amount in Controversy

The amouni in controversy — in the amount the plaintiff claims the defendant owes or the
amount at stake — is more than $75,000, not counting interest and costs of court, because (explain):
- Bro Se 1 (Rev. 12/16) Complaint for a Civil Case erent a
Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as tG harass, cause
unnecessary delay, oF needlessly increase the cost of litigation, (2) is supported by existing law or by 4
nonfrivolous argument for extending, modifying, Of reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Avtorney
| agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep 2 current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: p mw 19 aol
signature of Paintitt Ge 1) Wren?
Printed Name of Plaintiff 6 Lig Wh KlLams

B. For Attorneys

Date of signing:

Signature of Attomey
Printed Name of Attomey
Bar Number

Name of Law Firm

Street Address ee —
State and Zip Code wo
Telephone Number
E-mail Address

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United States District Court
EASTERN DISTRICT OF MICHIGAN SOUTHERN DIVISION
To be placed under the Republic flag of peace

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Otis Williams, II, Case No.
Plaintiff, Senior United State District Judge
Vs MAGISTRATE JUDGE:

SHARON BROOKS and Occupants,
TIFFANI DONALD and Occupants,
GREGORY SIMMONS and Occupants,
MIA TATE and Occupants,
ERNEST CORNELIUS and Occupants,
CHRISTOPHER KING and Occupants,
TRAVIS RUTLEDGE and Occupants,
JOSEPH JONES and Occupants,
AUDREY ARTHUR and Occupants
MICHAEL DUSSEAU and Occupants,
LAWSON LOVE and Occupants,
And LOIS HELM

THIRD PARTY PLAINTIFFS,

Vs.

JOHN VAN CAMP, dba, PRESIDENT and CHIEF EXECUTIVE
OFFICER and TIMOTHY THORLAND, EXECUTIVE
DIRECTOR on behalf of SOUTHWEST HOUSING
SOLUTIONS, BRIAN MOYNIHAN, dba, CHAIRMAN
OF THE BOARD and CHIEF EXECUTIVE OFFICER ON
BEHALF OF BANK OF AMERICA, JAMES DIMON, MARY
CALLAHAN ERDOES and DANIEL E. PINTO, agents on behalf
Of JP MORGAN CHASE & CO., RICHARD S. ZEIMAN AND
RICHMOND INGER on behalf of MOTOR CITY PROPERTY
MANAGERS, LLC, VIJAY CIAL on behalf of RENJAY, LLC,
DUSTIN CHAPPEL dba STRATEGIC GLOBAL INVESTING, LLC,
TIMOTHY J. SLOAN on behalf of WELLS FARGO, GERALD P.
JACOB, DEAN GROUIX and SCOTT W. WEAVER on behalf of RUBICON
REALTY GROUP, JOHN MICHAEL CRYAN on behalf of
DEUTSCHE BANK, N.A., TIM O’BRIEN on behalf of SELECT
PORTFOLIO SERVICING, DAVID WORRALL and KEVIN
BRUNGARDT on behalf of ROUNDPOINT MORTGAGE
SERVICING CORPORATION, RICHARD K. DAVIS on
Behalf of US BANK, GERALD HASSELL on behalf of BANK OF
NEW YORK MELLON, DAVID BYE, BRIAN G. PEPPER,
NAJLA SHAREEF, JOHN DOES 1-100, individuals, and
JOHN DOES 1-100, corporations

DEFENDANTS.

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To: be placed in the venue and jurisdiction of the American Republic flag of Peace.

NOW COMES Otis Williams III, herein claimant, being first duly sworn accordingly in law
being of age to contract and competent to witness, states that the facts contained herein are true,
correct, complete, certain and not misleading to the best of Petitioner (s) firsthand Knowledge
and belief subject to the Penalties of Perjury Pursuant to the “Laws” of the united States of
America Republic, and the state of Michigan Republic. Proper jurisdiction in accordance with
Rule 38(a) (b) and (c) of the Federal Rules of Civil Procedure, that jurisdiction being the law of
the land.

TO WHOM ALL THESE APPLY, AND PRESENT, that I Otis Williams III secured party and
creditor of all the herein named parties, per uniform commercial code sec. 1-106.6 exercises his
right under common law and lawfully seeks remedy under sec 1-201(2) and (34), sec 1-106, 1,

‘where any of the herein named conduits on behalf of the herein named Debtors/Defendants,
has, in fact, unlawfully committed impermissible errors where the herein named, conduit on
behalf of the herein named Debtors/Defendants, has in fact, unlawfully Violated the herein

named Claimant rights as an American and as a secured party.

I, Otis the IL of the Williams family, hereby institute this Cause of Action for fraudulent activity for
actual damages, statutory damages, and ‘Rights Violations’ under ‘Due Process of Law’ under ‘Sham
Legal Process’, ‘Color of Law’ and ‘Theft by Deception’ in Unlawful Detainer and unlawful Sheriff
Sale of the above named Plaintiff’s property (property description attached).

I, Otis the IL of the Williams family, acerbate that any future filings in this Complaint are direct
violations of Plaintiff’s Constitutional Rights and Amended Rights under the United States Constitution
and Plaintiff’s applicable rights to have a trial by jury to attest to the facts of the purported debt obligation
without violating Plaintiffs rights under the Bill of Rights.

COMPLAINT FOR FRADULANT ACTIVITY AND ORDER FOR PRELIMINARY
INJUNCTION TO ENJOIN THE DISPOSAL, SALE OR TRANSFER OF PROPERTIES
LOCATED AT 2215 CHICAGO BLVD, DETROIT, MI; 2304 CHICAGO BOULEVARD,

DETROIT, MI; 20251 ASHTON, DETROIT, MI; 2500 S. SCHAEFER RD, DETROIT,

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MI; 16781 HUNTINGTON RD, DETROIT, MI; 558 SHERBOURNE STREET,
INKSTER, MI, 19150 BERKLEY ROAD, DETROIT, MI; 7337 WOODROW WILSON,
DETROIT, MI; 15431 CRUSE, DETROIT, MI; AND 12398 HOGAN HWY, CLINTON,

MI; 21465 KARL STREET, DETROIT, MI PENDING FURTHER ORDER OF THIS
COURT OF DISPOSITION OF THIS CASE

COMES NOW the Plaintiff, Otis the III of the Williams family (“Plaintiff), complaining of the

Defendants, as follows:

JURISDICTION

Jurisdiction & Venue Based on the Following
Pursuant to USC 28 1331 * 1441

Pursuant to Public Law at 42 Stat 13-15 as Original Intent of Congress primae facie code USC 42
section 1983, “Chapter XXIl- an Act to enforce the Provisions of the Fourteenth Amendment to the
Constitution of the United States, and for Other purposes” Civil Rights Protections
Public Law 62 Stat 932 positive law code 28 USC section 1343, Civil Rights Violations
Public Law62 Stat 934 positive law code 28USC section 1352, Bonds Executed under Federal Law
Public Law 38 Stat 99-118 [National Banking Act] primae facie law code Title 12 Banks & Banking, .
62 Stat 938 positive law code 28 USC 1442 Federal Officers Sued
Title 18 Section 241 and Section 242
The Honorable UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

MICHIGAN has Jurisdiction over the actions committed within Wayne County and Oakland
County in Michigan State concerning this REQUEST FOR JUDGMENT, AND REQUEST FOR
“QUIET TITLE” ONLY is therefore filed pursuant to the laws of the United States of America
and the laws of the Constitution for these united States of America.
PRO SE STATUS OF PLAINTIFF
While Plaintiff has attempted to draft, file, and serve this LEGAL PROCEEDING

according to his best knowledge, information, and belief regarding his

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Unalienable Rights as originally declared in the 1776 A.D., Unanimous
Declaration of Independence, and as later protected by the American Law of the
Land, and its Common-Law and American Jurisprudence, he sincerely believes
that he can justifiably rely, if necessary, on the old MAXIM that clearly states:
“Substance is more important than Form,” and he also believes that he can also
justifiably rely on the UNITED STATES SUPREME COURT Case, entitled, Haines Vv.

Kerner, 1972, 404 U.S. 519, 30.L. Ed. 2d 652, 92 S. Ct, 594, 496, Reh. ~Den., 405 U.S.

948, 30 L. Ed. 2d 918, 92 S, Ct, 963, which clearly states, to wit:

“Pro Se complaints are held to less stringent standards than formal
pleadings by lawyers, and regardless of who represents the Plaintiffs, a
motion to dismiss is not to be granted unless it appears beyond doubt that
the Plaintiffs can prove no set of facts which would entitle them to relief.”

The Defendants and their representatives of JP Morgan Chase Bank N.A., Bank of America N.A.,
Deutsche Bank, N.A., Wells Fargo Bank N. A., Round Point Mortgage Servicing Corporation, U. S.
Bank, N.A., Strategic Global Investing, LLC, and the Wayne County Treasurer entered into
negotiable instrument contract with the Third Party Plaintiffs and then later with Plaintiff by default.
Defendants JP Morgan Chase Bank N.A., Bank of America N.A., Deutsche Bank, N.A., Wells
Fargo Bank N. A., Round Point Mortgage Servicing Corporation, U. S. Bank, N.A., Bank of New
York Mellon, Strategic Global Investing, LLC, and the Wayne County Treasurer later allegedly
lawfully assigned the mortgage security interest to Southwest Housing Solutions, Motor City
Property Managers, RenJay, LLC, Rubicon Realty Group, LLC, and Select Portfolio Servicing Inc.
and Brian G. Pepper.

JP Morgan Chase Bank N.A., Bank of America N.A., Deutsche Bank, N.A., Wells Fargo Bank N.
A., Round Point Mortgage Servicing Corporation, U. S. Bank, N.A., Bank of New York Mellon,
Strategic Global Investing, LLC, and the Wayne County Treasurer herein have produced a note
that serves as proof that they are holders of a fraudulent illegal transaction that is voidable based

on the governing law of the instrument and the federal laws governing the actions carried out in

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respect to the instrument.

4) Plaintiff asserts real defense remedy in contract against JP Morgan Chase Bank N.A., Bank of
America N.A., Deutsche Bank, N.A., Wells Fargo Bank N. A., Round Point Mortgage Servicing
Corporation, U. S. Bank, N.A., Bank of New York Mellon, Strategic Global Investing, LLC, and the
Wayne County Treasurer and their directors, representatives, and agents along with Southwest
Housing Solutions, Motor City Property Managers, RenJay, LLC, Rubicon Realty Group, LLC,
Brian Pepper and Select Portfolio Servicing Inc. and their directors, representatives and agents for
Fraud in the factum illegality of Transaction that renders the underlying contract [mortgage security
instrument] void, and material alteration of an instrument [the note].

5) JP Morgan Chase Bank N.A., Bank of America N.A., Deutsche Bank, N-A., Wells Fargo Bank N.A.,
Round Point Mortgage Servicing Corporation, U. S. Bank, N.A., Bank of New York Mellon,
Strategic Global Investing, LLC, and the Wayne County Treasurer are all financial Institutions
subject to The National Banking Act Public Law Volume 13 38 Congress Stat 99-118.

6) The Directors, Brian Moynihan, James Dimon, Mary Callahan Erdoes, Daniel Pinto, David Worrall,
Kevin Brungardt, Timothy J. Sloan, Richard Davis, Eric R. Sabree and Gerald Hassell involved in
the transactions of JP Morgan Chase Bank N.A., Bank of America N.A., Deutsche Bank, N.A.,
Wells Fargo Bank N. A., David Warrall, Richard Brungardt and Round Point Mortgage Servicing
Corporation, U. S. Bank, N.A., Bank of New York Mellon, Strategic Global Investing, LLC, and the
Wayne County Treasurer along with the Directors, agents or representatives Richard Zeiman,
Richmond Inger, Dustin Chappel, John Van Camp, Timothy Thorland, Vijay Cial, Gerald Jacob,
Scott W. Weaver, Tim O’Brien of Southwest Housing Solutions, Motor City Property Managers,
RenJay, LLC, Rubicon Realty Group, LLC, and Select Portfolio Servicing Inc., herein noted as the
holders of a note/bond are oathed to abide by the laws of financial institutions stated at The
National Banking Act Public Law Volume 13 38th Congress Stat 99-118 and have violated their
oath which is held at the Office of the Comptroller of Currency of the United States

7) Either the Department of the Treasury of a Federal Reserve Institution has issued bonds to the
above mentioned Defendants and the United States Comptroller of the Currency has registered the
bonds to the-Directors of JP Morgan Chase Bank N.A., Bank of America N.A., Deutsche Bank,
N.A., Wells Fargo Bank N. A., Round Point Mortgage Servicing Corporation, U. S. Bank, N.A.,
Strategic Global Investing, LLC, and the Wayne County Treasurer in exchange for a fraudulently

endorsed negotiable instrument, where no consideration was provided to the Plaintiff.

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8) Directors of the previously stated financial institutions cannot prove they made a loan based on the
properly following the laws of Public Law Volume 13 38t Congress Stat 99-118 which they are on
record as oathed to uphold such laws or face the penal actions for their violations

9) Defendants, Najla Shareef and David Bye for fraudulently passing on negotiable instruments in the
name of and on behalf of Plaintiff to Defendant, Deutsche Bank, NA., along with the Wayne
County Third Circuit Court case no 16-010689-CH and other unknown entities or individuals at the
time of filing this complaint.

10) The Plaintiff, Otis Williams III, main office and/or residence is located and for diversity purposes is
a citizen of Louisiana and all the Third-Party Plaintiffs (Debtors) are citizens of Michigan.

11) That the Defendants main offices and/or residences are located and for diversity purposes
{Wachovia Bank v. Schmidt, 546 U.S. 303, 307; 126 S.Ct. 941; 163 L.Ed.2d 797 (2006)} are as
such: Brian Moynihan and Bank of America, N.A. are citizens of Texas. John Michael Cryan and
Deutsche Bank, N.A. are citizens of New York. James Dimon, Daniel E. Pinto, Mary Callahan

Erdoes, and JP Morgan Chase Bank are citizens of New York. Timothy J. Sloan and Wells Fargo
are citizens of California. David Warrall, Richard Brungardt and Round Point Mortgage Servicing
Corporation are citizens of North Carolina. Richard K. Davis and U. S. Bank are citizens of Ohio.
Tim O’Brien and Select Portfolio Servicing are citizens of Utah. Dustin Chappell and Strategic
Global Investing LLC are citizens of Michigan. The Wayne County Treasurer is a citizen of
Michigan. Gerald Hassell and Bank of New York Mellon are citizens of New York. John Van
Camp, Timothy Thorland and Southwest Housing Solutions LLC are citizens of Michigan; Richard
Zeiman, Richmond Inger and Motor City Property Managers LLC are citizens of Michigan. Vijay
Cial and RenJay, LLC are citizens of Michigan. Dean Grouix is a citizen of Michigan. Gerald P.
Jacob, Scott W. Weaver and Rubicon Realty Group, LLC are citizens of Texas. Tim O’Brien and
Select Portfolio Servicing are citizens of Utah. Brian G. Pepper is a citizen of Michigan. Najee
Shareef is a citizen of Michigan, and David Bye is a citizen of Michigan. .

12) Under L.R. 81. | (a) and (b) and 28 U.S.C. 1332(a), the amount in controversy exceeds $75,000,

exclusive of interest, costs, and attorney fees because as part of the relief sought Plaintiff.

x

INTRODUCTION

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13. The herein named Plaintiff/secured party, interest holder, disputes the title and
ownership of the real properties in question located at 2215 Chicago Blvd, Detroit,
MI; 2304 Chicago Boulevard, Detroit, MI; 20251 Ashton, Detroit, MI; 2500 S.
Schaefer Rd, Detroit, MI; 16781 Huntington Rd, Detroit, MI; 558 Sherbourne
Street, Inkster, MI, 19150 Berkley Road, Detroit, MI, 7337 Woodrow Wilson,
Detroit, MI, and 15431 Cruse, Detroit, MI (the “Homes”), which is the subject of
this action, in that the originating mortgage lender, and others alleged to have
ownership, have unlawfully sold, assigned and/or transferred their ownership and
security interest in a Promissory Note and Deeds of trust related to the Property,
and, thus, do not have lawful ownership or a security interest in any of the herein
named Plaintiffs interest in real or personal property of any of his debtors which is
described in detail herein.

14. Plaintiff further alleges that Defendants, cannot establish possession and proper
transfer and/or endorsement of the Promissory Note and proper assignment of the
Deeds of trust herein; therefore, none of the defendants have perfected any claim of
title or security interest in the Property. Defendants, do not have the ability to
establish that the mortgages that secure the indebtedness, or Note, were legally or
properly acquired and there is no evidence to the contrary.

15. Plaintiff alleges that an actual controversy has arisen and now exists between the
Plaintiff, Third Party Plaintiffs and Defendants.

16. Plaintiff by right per default of the herein named Defendants took title to subject
private land and real estate between the years 2011 and 2016, by way of a “uce

fixtures liens and real estate liens filed in the real estate department of the uniform

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commercial code division per PRIVATE DEFAULT AGREEMENT between the
herein named claimant and defendants, It is well-settled American law and
Jurisprudence that a lending bank must comply with all lawful banking
regulations, generally accepted accounting practices (GAAP), and all lawful
Securities regulations when participating in the corporate, governmentally granted
privilege to create new money funds by monetizing the borrower’s signature,
according to the Federal Reserve’s own booklet, Modern Money Mechanics.

17. Itis well-settled American law and Jurisprudence that a lender must fully disclose
ALL terms and conditions of a loan to borrower for borrower to knowingly,
willingly, intentionally and voluntarily agree to all conditions, fully disclosed, in any
contract with a lender for the alleged loan to be valid.

Plaintiff's substantial rights and equitable interest Have been impaired and impeded
upon by an adjudication Concerning a property for which Plaintiff has perfected a
Security agreement UCC 1 Lien on all personal and real property related to each of
his DEBTOR'S, giving him Superior Equitable Interest over those Interest claimed by
the EACH Defendant to this cause of action.

At no time did any of the herein named Defendants engage in or act in good faith to contact (after
NOTICE of his interest was served on each named Defendant), Otis Williams III to accord him a fair and
equal opportunity to assert and represent his interest in the property that is the cause of this action.

At no time and nowhere in the Defendant’s pleadings and/or documents is the name Otis Williams
lil mentioned. Neither party to the original action against the plaintiffs/secured party’s DEBTORS accorded
Court records, at the least, judicial notice that there may have been other interested parties concerning the

property. It is the reasonable and fact support claim of the Plaintiff Otis Williams III that he was denied that
ability to defend his interest in his property, and his rights and interest impaired and impeded.

18. Otis Williams III holds right, title and interest to the property’s Each Defendant
claims a higher title to, which is the reason of this controversy. Any judgment of

t
foreclosure which was the basis for some Defendants claim of title is void on its face,

due to the fact that they did not acquire good title. The herein named Defendants

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standing to bring suit of foreclosure against a PARTY Even if a named Plaintiff had
standing to bring a foreclosure suit against a PARTY The putative judgment would
still be void as The herein named Defendant (s) failed to honor the herein named
Plaintiffs/Secured Party’s contract agreements with his DEBTORS and DID NOT
PAY THE Plaintiff/Secured party Otis Williams IIT, the amounts owed to him.

19, Fe oreclosure must produce the original promissory note: in a mortgage foreclosure,
complaining party must (1). Prove standing by possession of the original promissory
note, and (2). Must prove damages by appearance of a competent fact witness:
Where the complaining party cannot prove the existence of the note, then there is
no note. To recover on a promissory note, the plaintiff must prove: (1) the existence
of the note in question; (2) that the party sued signed the note; (3) that the plaintiff
is the owner or holder of the note; and (4) that a certain balance is due and owing
on the note. See In Re: SMS Financial LLC. v. Abco Homes, Inc. No.98-50117
February 18, 1999 (5th Circuit Court of Appeals.), Volume 29 of the New Jersey
Practice Series, Chapter 10 Section 123, page 566, emphatically states, “...; and no
part payments should be made on the bond or note unless the person to whom

. payment is made is able to produce the bond or note and the part payments are
endorsed thereon. It would seem that the mortgagor would normally have a
Common law right to demand production or surrender of the bond or note and
mortgage, as the case may be. See Restatement, Contracts S 170(3), (4) (1932);
C.J.S. Mortgages S 469, in Carnegie Bank v, Shalleck 256 N.J. Super 23 (App. Div.
1992), the Appellate Division held, “When the underlying mortgage is evidenced by

an instrument meeting the criteria for negotiability set forth in N.J.S. 12A:3-104,

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the holder of the instrument shall be afforded all the rights and protections provided
a holder in due course pursuant to N.J.S. 12A:3-302" Since no one is able to
produce the “instrument” there is no competent evidence before the Court that any
party is the holder of the alleged note or the true holder in due course. New Jersey
common law dictates that the plaintiff prove the existence of the alleged note in
question, prove that the party sued signed the alleged note, prove that the plaintiff
is the owner and holder of the alleged note, and prove that certain balance is due
and owing on any alleged note. Federal Circuit Courts have ruled that the only way
to prove the perfection of any security is by actual possession of the security. See
Matter of Staff Mortgage. & Inv. Corp., 550 F.2d 1228 (9th Cir 1977). “Under the
Uniform Commercial Code, the only notice sufficient to inform all interested parties
that a security interest in instruments has been perfected is actual possession by the
secured party, his agent or Bailee/bailer, (Otis; Williams II has possession)
Bankruptcy Courts have followed the Uniform Commercial Code. In Re Investors

- & Lenders, Ltd. 165 B.R. 389 (Bkrtcy.D.N.J.1994), “Under the New Jersey Uniform
Commercial Code (NJUCQ), promissory note is “instrument,” security interest in
which must be perfected by possession ...” Unequivocally the Court’s rule is that in
order to prove the “instrument”, possession is mandatory.

20. It is a fact that the herein named Defendants, its agents and co-parties are
committing omitting knowledge in Bad Faith, Fraud Conspiracy, Undue
Enrichment, Aiding and Abetting, Willful and Wanton, Irreparable Harm, with
Malice and Foresight, Conversion, Commercial War, Commercial Credit Slander

and continuous torts.

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21. Plaintiff further alleges that the Defendants, specifically trespassed and violated
his rights intentionally. These Defendants with the assistance of others, transferred real estate
without consulting with Plaintiff prior to this illegal and forceful transfer. In addition, the
Defendants used the legal system to illegally evict his debtors from many of the real estate
properties. Plaintiff has requested that the actions of the Defendants be reversed but has yet
done so at the time of filing this action. Plaintiff also seeks redress from Defendants identified
herein below for damages, for other injunctive relief, and for cancellation of written
instruments based upon:

a. An invalid and unperfected security interest in the real estate and land that plaintiff

has interest in hereinafter described;

b. Void “True Sale(s)” violating Michigan Law and express terms of the Pooling and
Servicing Agreement (“PSA”) governing the securitization of Plaintiff's mortgage,
which is a Trust Agreement required to be filed under penalty of perjury with the
United States Securities and Exchange Commission (“SEC”) and which, along with
another document, the Mortgage Loan Purchase Agreement (“MLPA”), is the
operative securitization document created by the finance and securitization industry
to memorialize securitization transactions (see further discussion of the PSA herein);

c. An incomplete and ineffectual perfection of a security interest in Plaintiff's property;

d. Violations of Michigan Compiled Law 445.903 (Unfair Business Practices) and

e. A void or voidable Deeds of trust due to improper securitization, for which there is a

reasonable apprehension that, if left outstanding, may cause a serious injury.

22. AS OF THIS DATE OF THE FILING OF THIS COMPLAINT, PLAINTIFF STATES

UPON INFORMATION AND BELIEF THAT DEFENDANTS HAVE NOT FILED A CIVIL

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ACTION FOR POSSESSION IN ANY LOWER COURT, HOWEVER that immediate and
irreparable harm will come to the “Plaintiff and the Third Party Plaintiffs as a result of the
BELOW DESCRIBED ACTS and wrongful conduct of the Defendants, unless this Honorable
Court issues an Order to enjoin the transfer, disposal or sale of Plaintiff’s property until further
Order of this Court and/or an Order staying any lower court judgment/order of eviction or writ

of order of eviction.

a. The “Plaintiff”, pursuant to the Fair Debt Collection Practices Act § 809. Validation
of debts (15 USC 1692g), wrote Defendant letters requesting they validate the debt, and
plaintiff is/was entitled to this information and accordingly followed the requirements
of § 809. Validation of debts (15 USC1692g), and did,

1. write the Defendant, and

2. request that the defendant “validate” the debt Plaintiffs written letter(s)
requesting Defendant validate the debt were inclusive of requesting Defendants
to provide a “detailed accounting and a tracking” of when, where, how the
Plaintiff monthly mortgage payments and “charges and fees” were added on to
Plaintiff account, and “were calculated” posted , and by whom.

b. The Plaintiff received no response from sending the above referred letters requesting
validation, and

1. Defendants failed to validate the debt,

2. Ignored the request to validate made by “Plaintiff

3. Ignored the federal statute and its prohibited acts regarding such,

c. “Defendants” were to cease all collection activity upon receipt of that letter and were
not allowed and prohibited from starting any foreclosure, instituting Sheriffs Sale, and
commencing any civil action against Plaintiff.... . under prohibited acts of § 809
Validation of debts (15 USC 1692. .

d. The Statute 15 USC 1692g and the United States Court of Appeals, and an Indiana
Court of Appeals ruling further established additional requirements that "Defendants

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are not allowed to collect, continue to proceed, or file any civil action if they fail to
validate the debt.
1. In Spears v Brennam (Brennam was a defendants collection attorney), the
Court of appeals ruled as follows:
“Finally, we address Spears” claim that Brennan violated 15 U.S. C. 1692g(b)
when he failed to cease collection of the debt after receiving Spears’ written
notification within the thirty-day debt validation period that Spears was
disputing the debt” 15 U.S.C. 1692G(b) reads:
If the consumer notifies the debt collector in writing within the thirty day period
described in subsection (a) of this section that the debt, or any portion thereof,
is disputed, or that the consumer requests the name and address of the original
creditor, the debt collector shall cease collection of the debt, or any disputed
portion thereof, until the debt collector obtains verification of the debt or a copy
of a judgment, or the name and address of the original creditor, and a copy of
such verification or judgment, or name and address of the original creditor, is

mailed to the consumer by the debt collector.

THE PARTIES

23. Plaintiff is now, and at all times relevant to this action, and domiciled in the Orleans
Parish (county) of Louisiana, and the Michigan republic.

24. Defendants, is (was) are doing business in the State of Michigan. Plaintiff is further
informéd and believes, and thereon alleges, that DEFENDAN TS are the
Originators of the loan and/or purported participant in the imperfect securitization
of the Note (incorporated by reference herein) and/or Deeds of trust, (incorporated
by reference herein), as more particularly described in this Complaint. Plaintiff is

further informed and believes that DEFENDANTS is a participant in fraud in the

origination of the note.

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25. Some of the herein named Defendants, are a National Banking Association, doing
business in the UNITED STATES. Plaintiff is further informed and believes, and
thereon alleges, that THE DEFENDANTS, are the present purported Master
Servicer of the mortgage herein and/or are a purported participant in the imperfect
securitization of the Note (incorporated by reference herein) and/or the Deeds of
trust, (incorporated by reference herein), as more particularly described in this
Complaint.

26. Some of the herein named Defendants, Plaintiff are informed and believes, and
thereon alleges, are a state debt collection agency doing business in the State of
Michigan and are the purported Foreclosure Trustee of the mortgage herein and/or
a purported participant in the imperfect securitization of the Note and/or the Deeds
of trust as more particularly described in this complaint.

27. Some of the herein named Defendants, Plaintiff are informed and believes, and
thereon alleges, are a domestic limited liability company doing business in the State
of Michigan Plaintiff is further informed and believes, and thereon alleges, that
Defendants are the purported Beneficiary under the Deeds of trust and/or are a
purported participant in the imperfect securitization of the Note and/or the Deeds of
trust, as more particularly described in this Complaint.

28. Some of the herein named Defendants, Plaintiff are informed and believes, and
thereon alleges, are individuals doing business in the State of Michigan and are the
purported agents of the corporations herein and/or a purported participant in the

illegal transfer of assets as more particularly described in this complaint.

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29. Plaintiff is informed and believes, and thereon alleges, that at all times herein
mentioned, each of the Defendants were the agents, employees, servants and/or the
joint ventures of the remaining Defendants, and in doing the things alleged herein
below, were acting within the course and scope of such agency, employment and/or
joint venture.

30. The Properties (Homes) are located within the United States.

FACTUAL ALLEGATIONS

31. FACT 1. Real estate is a document recording system, the Uniform Commercial Code
is also a notice and document filing system. The herein named defendant Otis
Williams [1/Secured Party is not a licensed attorney nor a licensed real estate agent,
but has some form of education where reading is a subject. It is a fact that real estate
and UCC laws put the public on notice about different types of transactions, but the
ways they do this are very different. Recording a real estate document means
literally that the original document representing the transaction-the deed, mortgage,
etc.-is placed in the public record at the recording office. Therefore, anyone who
has a need to know about the transaction can read the actual documents in the
entirety.

32. FACT 2. Real estate is an asset-based system-UCC is a liability and asset-based
system. The old cliché is that no more real estate is being made; that's an important
distinction between real estate law and the uniform commercial code. Each local
record office has under its responsibility a certain area of land each piece of which

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is identifiable on its records. Therefore, every document recorded points in some

way, direct or indirect, to specific known parcels of land. Which we can say that real

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estate and the UCC recording are lawful asset-based, Documents/Instruments. The
plaintiff/secured party Otis; Williams III has in fact recorded such instruments in
which the herein named Defendants have in fact ignored these lawfully registered
documents as to say that another hard working American business man using such
Commercial information and systems of business must be a officer of the court, a
Bank , mortgage or a Loan Company, this is surely Not a good Faith action but
rather a contractual interference and dishonesty dishonor and disrespect to the
UNIFORM Law Commissioners. Who are all attorneys, qualified to practice law,
including state and federal judges, legislators and law professors from throughout
the United States.

33. FACT 3. Real estate law consists of sometimes loosely related statutes that vary
widely from state to state whereas UCC law consists of state variations on a compact
and statutes nationally promulgated model act.

34. Under the UCC, a financing statement is usually said to be "filed." This financing
statement is not the transaction itself, but rather a summary of the transactions
intended to notify the public in a general way that the secured party is placing a lien
on an specific property of the debtor, the UCC-3 assignment deals with transactions

35. I can understand the herein Defendants, lack of knowledge of the UCC law as a
whole, due to the fact that there is a lack of uniformity in the uniform commercial
code because many states, at/or are in the process of enacting their own version of
the model act, have amended the model act in a variety of ways that confuses and

&
confounds even UCC documentation professionals. The simplest way to compare

real estate statutes and the uniform commercial code (UCC) is to say that the UCC

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is to personal and real property as to mortgages/trust deeds are to real property. It
is fair to say that the security agreement behind each UCC transaction is the
practical equivalent of the mortgage behind each real estate loan. Each of these
agrees with one another.

36. It is a fact that NO AGREEMENT/ CONT RACT private or PUBLIC exist between
the t Otis Williams III and plaintiff that was drafted by the Defendant (s) and the
herein named Plaintiff, Otis Williams III nor Signed and/or Registered that can
BIND the plaintiff Otis Williams III.

37. Plaintiff executed a series of documents, including but not limited to a Note and
Deeds of trust, securing the Property in the amount of note. The original beneficiary and
nominee under the Deeds of trust was DEFENDANTS.

38. Plaintiff is informed and believes, and thereon alleges, that this loan was securitized,
with the Note not being properly transferred to Defendants, THE DEFENDANTS, acting as the
Trustee for the Securitized Trust. As set forth herein above, the Securitized Trust was formed
by execution of the PSA.

39. Plaintiff is informed and believes, and thereon alleges, that the purchase mortgage
on the Properties, the debt or obligation evidenced by the Note and the Deeds of trust executed
by the Third Party Plaintiffs in favor of the original lender and other Defendants, regarding the
Property, was not properly assigned and transferred to Defendants operating the pooled
mortgage funds or trusts in accordance with the PSA of the entities making and receiving the
purported assignments to this trust, and believes there is no valid evidence to the contrary.

40. Plaintiff alleges that the PSA requires that each Note or Deeds of trust had to be

endorsed and assigned, respectively, to the trust and executed by multiple intervening parties

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before it reached the Trust. Here, neither the Note nor the Deeds of trust was assigned to the
Securitized Trust by the closing date. Therefore, under the PSA, any assignments of the Deeds
of trust beyond the specified closing date for the Trust are void.

41. Plaintiff further alleges that even if the Deeds of trust had been transferred into the
Trust by the closing date, the transaction is still void as the Note would not have been transferred
according to the requirements of the PSA, since the PSA requires a complete and unbroken
chain of transfers and assignments to and from each intervening party. Documents filed with
the SEC by the securitization participants allegedly claim that the Note and Deeds of trust at
issue in this case were sold, transferred and securitized by Defendants, with other loans and
mortgages, as with Freddie Mac mortgages in similar PSA’s such as SERIES 2005-3, which is
a Common Law Trust formed pursuant to New York law. A copy of the Prospectus Supplement
can be found at the site indicated below.

42. Plaintiff is informed and believes, and thereon alleges, that PSA’s such as SERIES
2005-3 had no officers or directors and no continuing duties other than to hold assets and to
issue the series of certificates of investment as described in the Prospectus identified herein
below. A detailed description of the mortgage loans which form the Trust SERIES 2005-3 is
included in Form 424B5 (“the Prospectus”), which has been duly filed with the SEC and which

can be accessed through the below mentioned footnote.1
1 http://www.sec.gow/A rchives/edgar/data/8 15018/0001 1623180 7000567/m0565424b5.htm

43. Plaintiff also alleges that the Note was secured by the Deeds of trust. Plaintiff alleges
that as of the date of the filing of this Complaint, the Deeds of trust had not been legally assigned

*
to any other party or entity, and believes there is no valid evidence to the contrary.

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44, Plaintiff is informed and believes, that THE DEFENDANT: S, alleges that they are
the “holder and owner” of the Note and the beneficiary of the Deeds of trust. However, the Note
and Deeds of trust identify the mortgagee and note holder as the original lending institution or
Mortgage Originator. Documents state that the original lender allegedly assigned the mortgage
loan to THE DEFENDANTS, and believes there is no valid evidence to the contrary.

45. Plaintiff further alleges that no documents or records can be produced that
demonstrate that prior to the assignment date, the Note was duly endorsed, transferred and
delivered to THE DEFENDANTS, including all intervening transfers. Nor can any documents |
or records be produced that demonstrate that prior to the assignment date, the Deeds of trust
was duly assigned, transferred and delivered to THE DEFENDANTS, including all intervening
assignments, and believes there is no valid evidence to the contrary.

46. The link to the SEC and the various documents filed with the SEC regarding the
Note are: SEC Website: http://www.sec.gov.

47. Plaintiff is further informed and believes, and thereon alleges, that the purported
assignments and transfers of Plaintiff's debt or obligation did not comply with Michigan law,
andor other laws and statutes, and, thus, do not constitute valid and enforceable “True Sales.”
Any security interest in the Property was, thus, never perfected. The alleged holder of the Note
is not the beneficiary of the Deeds of trust. The alleged beneficiary of Plaintiff’s Deeds of trust
does not have the requisite title, perfected security interest or standing to proceed; and/or is not
the real party in interest with regard to any action taken or to be taken against the Property, and

believes there is no valid evidence to the contrary.

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48. Plaintiff is also informed and believes, and thereon alleges, that at all times herein
mentioned, and any assignment of a Deeds of trust without proper transfer of the obligation that
it secures is a legal nullity, and believes there is no valid evidence to the contrary.

49, As set forth hereinabove, Defendants, violated the express terms of the PSA which is
a Trust Agreement and which, along with another document, the Mortgage Loan Purchase
Agreement, is the operative securitization document created by the finance and securitization
industry to memorialize a particular securitization transaction. The PSA specifies the rights and |
obligations of each party to the securitization transaction to each other, and is a public
document on file with the SEC. More specifically, the PSA requires strict compliance with its
procedures and timelines in order for the parties to achieve their specific objectives.

50. Securitization is the process whereby mortgage loans are turned into securities, or
bonds, and sold to investors by Wall Street and other firms. The purpose is to provide a large
supply of money to lenders for originating loans, and to provide investments to bond holders
which were expected to be relatively safe. The procedure for selling of the loans was to create a
situation whereby certain tax laws known as the Real Estate Mortgage Investment Conduit
(hereinafter “REMIC”) Act was observed, and whereby the Issuing Entities and the Lenders
would be protected from either entity going into bankruptcy. In order to achieve the desired
“bankruptcy remoteness,” two “True Sales” of the loans had to occur, in which loans were sold
and transferred to the different parties to the securitization.

51. A “True Sale” of the loan would be a circumstance whereby one party owned the

‘Note and then sold it to another party. An offer would be made, accepted and compensation

given to the “seller” in return for the Note. The Notes would be transferred, and the Deeds of

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Trust assigned to the buyers of the Note, with an Assignment made every step of the way, and,
furthermore, each Note would be endorsed to the next party by the previous assignee of record.

52. In order for the Trustee of the Securitized Trust to have a valid and enforceable
secured claim against Plaintiff's properties, the Trustee must prove and certify to all parties
that, among other things required under the PSA:

a. There was a complete and unbroken chain of endorsements and transfers of the
Note from and to each party to the securitization transaction (which should be from the (A)
Mortgage Originator to the (B) Sponsor to the (C) Depositor to the (D) Trust, and that all of
these endorsements and transfers were completed prior to the Trust closing dates (see discussion
below); and

b. The Trustee of the Securitized Trust had actual physical possession of the Note at that
point in time, when all endorsements and assignments had been completed. Absent such proof,
Plaintiff alleges that the Trust cannot demonstrate that it had perfected its security interest in
Plaintiff’s property (ies) that is the subject of this action. Therefore, if the Defendants, did not
hold and possess the Note on or before the closing date of the Trust herein, they are estopped
and precluded from asserting any secured or unsecured claim in this case.

53. Plaintiff is informed and believes, and thereon alleges, that pursuant to the terms of
the PSA, the Mortgage Originator (i.e., the original lender herein) agreed to transfer and
endorse to the Trustee for the Securitized Trust, without recourse, including all intervening
transfers and assignments, all of its right, title and interest in and to the mortgage loan (Note) .
of Plaintiff herein and all other mortgage loans identified in the PSA, and believes there is no

valid evidence to the contrary.

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54, Plaintiff is further informed and believes, and thereon alleges, that the PSA provides
that the transfers and assignments are absolute, were made for valuable consideration, to wit,
in exchange for the certificates described in the PSA, and were intended by the parties to be a
bona fide or “True Sale.” Since, as alleged herein below, True Sales did not actually occur,
Plaintiff alleges that the Defendants Trustees are estopped and precluded from asserting any
secured or unsecured claim in this case, and believes there is no valid evidence to the contrary.

55. Plaintiff is further informed and believes, and thereon alleges, that as a result of the
PSA and other documents signed under oath in relation thereto, the Mortgage Originator,
sponsor and Depositor are estopped from claiming any interest in the Note that is allegedly
secured by the Deeds of trust on Plaintiff’s property (ies) herein, and believes there is no valid
evidence to the contrary.

56. Based upon the foregoing, Plaintiff is further informed and believes, and thereon
alleges, that the following deficiencies exist, in the “True Sale” and securitization process as to
this Deeds of trust which renders invalid any security interest in the Plaintiff's mortgage,
including, but not limited to:

a. The splitting or separation of title, ownership and interest in Plaintiff’s Note and
Deeds of trust of which the original lender is the holder, owner and beneficiary of
Plaintiff’s Deeds of trust;

b. When the loan was sold to each intervening entity, there were no Assignments of

the Deeds of trust to or from any intervening entity at the time of the sale. Therefore,

“True Sales” could not and did not occur;

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c. The failure to assign and transfer the beneficial interest in Plaintiff's Deeds of
trust to THE DEFENDANTS, in accordance with the PSA of the Defendants, as
Securitization Participants;
d. The failure to endorse, assign and transfer Plaintiff’s Note and/or mortgage to the
DEFENDANTS, as Trustee, in accordance with the PSA;
e. No Assignments of Beneficiary or Endorsements of the Note to each of the
intervening entities in the transaction ever occurred, which is conclusive proof that
no true sales occurred as required under the PSA filed with the SEC; and
f, Defendants, violated the pertinent terms of the PSA.
57. Plaintiff, therefore, alleges, upon information and belief, that none of the parties to
neither the securitization transaction, nor any of the Defendants in this case, hold a perfected
and secured claim in the Property; and that all Defendants are estopped and precluded from
asserting an unsecured claim against Plaintiff’s estates, and believes there is no valid evidence
to the contrary.

FIRST CAUSE OF ACTION
LACK OF STANDING TO FORECLOSE

58. An actual controversy has arisen and now exists between Plaintiff and Defendants
specified hereinabove, regarding their respective rights and duties, in that Plaintiff contends
that Defendants, do not have the right to foreclose on the Properties because Defendants, have
failed to perfect any security interest in the Property. Thus, the purported power of sale or
transfer by the above specified Defendants, no longer applies. Plaintiff further contends that the
above specified Defendants, do not have the right to transfer or foreclose on the Property
because said Defendants, did not properly comply with the terms of Defendants’ own

securitization requirements and falsely or fraudulently prepared documents required for

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Defendants, to foreclose as a calculated and fraudulent business practice, and believes there is
no valid evidence to the contrary.

59. Plaintiff is informed and believes and there upon allege that the only individual who
has standing to foreclose is the holder of the note because they have a beneficial interest. The
only individuals who are the holder of the note are the certificate holders of the securitized trust
because they are the end users and pay taxes on their interest gains; furthermore, all of the
banks in the middle were paid in full, and believes there is no valid evidence to the contrary.
60. Plaintiff requests that this Court find that the purported power of sale contained in
the Note and Deeds of trust has no force and effect at this time, because Defendants ’ actions in
the processing, handling and unlawful foreclosure of this loan involved numerous fraudulent,
false, deceptive and misleading practices, including, but not limited to, violations of Federally
guaranteed Rights through Amendments 4, 5, 7, 14, and Michigan State Constitutional Rights
as guaranteed by ARTICLE I § Ul, I § 14, AND I§ 17, ata minimum; and other state laws
designed to protect borrowers, which has directly caused the Plaintiffs herein named secured
party’s DEBTOR ’S to be at an equitable disadvantage to Defendants, Plaintiff further requests
that title to the Property remain in its name, with said Deeds of trust remaining in beneficiaries’
name, during the pendency of this litigation, and deem that any prior or future sale of the
Property is “ynlawful and void” were payable to and the Note, therefore, cannot be transferred
unless it is endorsed, and Plaintiff believes there is no yalid evidence to the contrary.

61. By false or fraudulent documents, said unlawful foreclosure action and the
transferring of Plaintiff’s assets has caused and continues to cause Plaintiff and the Third Party
Plaintiffs great and irreparable injury in that real property is unique, and there is no valid

evidence to the contrary.

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SECOND CAUSE OF ACTION
FRAUD IN THE CONCEALMENT

62. Defendants concealed the fact that the Loans were securitized as well as the terms of the
Securitization Agreements, including, inter alia: (1) Financial Incentives paid; (2) existence of
Credit Enhancement Agreements, and (3) existence of Acquisition Provisions. By concealing
the securitization, Defendants concealed the fact that Borrower's loan changed in character
inasmuch as no single party would hold the Note but rather the Notes would be included in a
pool with other Notes, split into tranches, and multiple investors would effectively buy shares of
the income stream from the loans. Changing the character of the loan in this way had a

materially negative effect on Plaintiff that was known by Defendants but not disclosed, and

believes there is no valid evidence to the contrary. Defendants knew or should have known that

had the truth been disclosed, Plaintiff would not have entered into the Loans. Defendants

intended to induce the Plaintiffs DEBTOR’S based on these misrepresentations and improper

disclosures.

63. Some of the Defendants herein concealed and ignored the fact that Plaintiffs perfected

interest was indeed in place and valid at the time of their illegal actions. T he Defendants

neglected to follow due diligence in notifying Plaintiff of any actions such as transferring to

other entity or individuals, foreclosure, etc. in that they were taking against the properties

(Homes) of the plaintiff. T: his act was a direct insult to Plaintiff and his debtors.

64. Plaintiffs DEBT OR’S reasonable reliance upon the misrepresentations was
4

detrimental. But for failure to disclose the true and material terms of the transaction, Plaintiffs

Page 25 of 32
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.49 Filed 02/28/17 Page 49 of 63

DEBTOR’S could have been alerted to issues of concern. Plaintiffs DEBTOR’S would have
known of Defendants true intentions and profits from the proposed risky loan.

Defendants were aware of the misrepresentations and profited from them, and there is no

valid evidence to the contrary.

65. As a direct and proximate result of the misrepresentations and concealment, Defendants
is guilty of malice, fraud and/or oppression. Defendants’ actions were malicious and done
willfully in conscious disregard of the rights and safety of Plaintiff in that the actions were
calculated to injure Plaintiff. As such Plaintiff is entitled to recover, in addition to actual
damages, punitive damages to punish Defendants and to deter defendants from engaging in
future misconduct.

THIRD CAUSE OF ACTION
FRAUD IN THE INDUCEMENT

66. Defendants, intentionally misrepresented to Plaintiffs DEBTOR’S that the
Defendants was entitled to exercise the transfer or the power of sale provision contained in the
Deeds of trust. In fact, Defendants was not entitled to do so and have no legal, equitable, or
actual beneficial interest whatsoever in the Property.

67. Defendants misrepresented that they are the “holder and owner” of the Note and the
beneficiary of the Deeds of trust. However, this was not true and was a misrepresentation of
material fact. Documents state that the original lender allegedly assigned the mortgage loan to
THE DEFENDANTS. Defendants was attempting to collect on a debt to which they have no
legal, equitable, or pecuniary interest in. This type of conduct is outrageous. Defendants are
fraudulently foreclosing on the Property which they have no monetary or pecuniary interest;

there is no valid evidence to the contrary.

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.50 Filed 02/28/17 Page 50 of 63

68. Defendant’s failure to disclose the material terms of the transaction induced
Plaintiffs debtors to enter into the loans and accept the Services as alleged herein.

The material misrepresentations were made by Defendants with the intent to cause Plaintiff to
reasonably rely on the misrepresentation in order to induce the Plaintiff to rely on the
misrepresentations and foreclosure on the Property. This material misrepresentation was made
with the purpose of initiating the securitization process as illustrated above, in order to profit
from the sale of the Property by selling the note to sponsors who then pool the note and sell it to
investors on Wall Street, and there is no valid evidence to the contrary.

Defendants was aware of the misrepresentations and profited from them.

69. As a direct and proximate result of the misrepresentations and concealment from
the Plaintiffs DEBTOR’S was damaged in an amount to be proven at trial, including but not
limited to costs of Loan, damage to Plaintiff’s financial security, emotional distress, and
Plaintiff has incurred costs and legal fees.

70. Defendants are guilty of malice, fraud and/or oppression. Defendant’s actions were
malicious and done willfully in conscious disregard of the rights and safety of Plaintiff in that
the actions were calculated to injure Plaintiff. As such Plaintiff is entitled to recover, in addition
to actual damages, punitive damages to punish Defendants and to deter them from engaging in
future misconduct, and there is no valid evidence to the contrary.

FOURTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

71. The actions of Defendants, as set forth herein, have resulted in the Plaintiff being

threatened with the loss of his rights in real property, land or personal property.

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.51 Filed 02/28/17 Page 51 of 63

72. This outcome has been created without any right or privilege on the part of the
Defendants, and, as such, their actions constitute outrageous or reckless conduct on the part of
Defendants.

73. Defendants intentionally, knowingly and recklessly misrepresented to the Plaintiffs
DEBTOR’S that Defendants was entitled to exercise the power of sale provision contained in
the Deeds of trust. In fact Defendants was not entitled to do so and have no legal, equitable, or
actual beneficial interest whatsoever in the Property, and there is no valid evidence to the
contrary.

74, Defendants conduct — fraudulently attempting to foreclose on a property in which
defendants has no right, title, or interest — is so outrageous and extreme that it exceeds all
bounds which are usually tolerated in a civilized community.

75. Such conduct was undertaken with the specific intent of inflicting emotional distress
on the Plaintiff, such that Plaintiff would be so emotionally distressed and debilitated that he/she
would be unable to exercise legal rights in the Property; the right to title of the Property, the
right to verify the alleged debt that Defendants are attempting to collect, and right to clear title
to the Property such that said title will regain its marketability and value, and there is no valid
evidence to the contrary.

76. At the time Defendants began their fraudulent foreclosure proceedings, Defendants
was not acting in good faith while attempting to collect on the subject debt. Defendants
committed the acts set forth above with complete; utter and reckless disregard of the probability
_ of causing Homeowners to suffer severe emotional distress.

t

77. As an actual and proximate cause of Defendants’ attempt to fraudulently foreclose

on properties that the plaintiff has interest in, the Plaintiff has suffered severe emotional

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Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.52 Filed 02/28/17 Page 52 of 63

distress, including but not limited to lack of sleep, anxiety, and depression, and there is no valid
evidence to the contrary.

78. As a proximate cause of Defendants’ conduct, Plaintiff has experienced many
sleepless nights, severe depression, lack of appetite, loss of productivity, and enjoyment of life.

79, The conduct of Defendants, as herein described, was so vile, base, contemptible,
miserable, wretched, and loathsome that it would be looked down upon and despised by ordinary
people. Plaintiff is therefore entitled to punitive damages in an amount appropriate to punish
Defendants and to deter other from engaging in similar conduct, and there is no valid evidence

to the contrary.

FIFTH CAUSE OF ACTION
SLANDER OF TITLE

80. Plaintiff incorporates here each and every allegation set forth above. Defendants,
disparaged Plaintiff’s exclusive valid title by and through the preparing, posting, publishing,
and recording of the documents previously described herein, including, but not limited to, the
Notice of Claim of Interest, Notice to Cease and Desist: Notice of Default, Notice of Trustee's
Sale, Warranty Deeds, Quit Claim Deeds and Trustee's Deed.

81. Said Defendants knew or should have known that such documents were improper in
that at the time of the execution and delivery of said documents, Defendants had no right, title,
or interest in the Property. These documents were naturally and commonly to Be interpreted as
denying, disparaging, and casting doubt upon Plaintiff’s legal title to the Property. By posting,
publishing, and recording said documents, Defendants' disparagement of Plaintiff’s legal title
was made to the world at large, and there is no valid evidence to the contrary.

82. As a direct and proximate result of Defendants’ conduct in publishing these

documents, Plaintiff’s title to the Property has been disparaged and slandered, and there is a

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Case 2:17-cv-10637-SFC-DRG. ECF No. 1, PagelD.53 Filed 02/28/17 Page 53 of 63

cloud on Plaintiff’s title, and Plaintiff has suffered, and continues to suffer, damages in an
amount to be proved at trial.

83. As a further proximate result of Defendanis' conduct, Plaintiff has incurred expenses
in order to clear title to the Property. Moreover, these expenses are continuing, and Plaintiff
will incur additional charges for such purpose until the cloud on Plaintiff’s title to the property
has been removed. The amounts of future expenses and damages are not ascertainable at this
time.

84. As a further direct and proximate result of Defendants’ conduct, Plaintiff has
suffered humiliation, mental anguish, anxiety, depression, and emotional and physical distress,
resulting in the loss of sleep and other injuries to his health and well-being, and continues to
suffer such injuries on an ongoing basis. The amount of such damages shall be proven at trial.

85. At the time that the false and disparaging documents were created and published by
the Defendants, Defendants knew the documents were false and created and published them
with the malicious intent to injure Plaintiff and his debtors and deprive them of their exclusive

right to title of the assets and homes.

FIRST CAUSE OFACTION

1. For Compensatory Damages in an amount $50,000
2. For Special Damages in an amount $50,000

3. For General Damages in an amount $50,000

4 For Punitive Damages in the amount $200,000

a. Plaintiff is the prevailing party;

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Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.54 Filed 02/28/17 Page 54 of 63

b. The Trustees of the Trusts have no enforceable secured or unsecured claim against the Property;
c. The Sponsor has no enforceable secured or unsecured claim against the Property;
d. The Depositor has no enforceable secured or unsecured claim against the Property;

. The Mortgage Originator has no enforceable secured or unsecured claim against the Property;

oO

SECOND CAUSE OF ACTION

1. For Compensatory Damages in an amount $50,000
2. For Special Damages in an amount $50,000

3. For General Damages in an amount $50,000

4. For Punitive Damages in the amount $200,000

THIRD CAUSE OF ACTION

1. For Compensatory Damages in an amount $50,000
2. For Special Damages in an amount $50,000

3. For General Damages in an amount $50,000

4. For Punitive Damages in the amount $200,000

FOURTH CAUSE OF ACTION

1. For Compensatory Damages in an amount $50,000
2. For Special Damages in an amount $50,000

3. For General Damages in an amount $50,000

4 For Punitive Damages in the amount $200,000

FIFTH CAUSE OF ACTION

1. For Compensatory Damages in an amount $50,000

NO

. For Special Damages in an amount $50,000

Ww

. For General Damages in an amount $50,000

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Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.55 Filed 02/28/17 Page 55 of 63

4. For Punitive Damages in the amount $200,000

WHEREFORE THE PLAINTIFF pray for and order enjoining the transfer, disposal or sale
_ of plaintiffs properties until further order of this court and/or an Order staying any lower court
action, judgment/order of eviction or writ or order to eviction and for an award or Judgment in
an amount of no less than twice the $450,000.00 appraised value of Plaintiffs properties as to
Plaintiff in general damages, from each defendant; and an additional award of punitive and/or
exemplary damages from each Defendant in an amount of $450,000.00 or as the court or jury
shall deem to be fair and just at the time of trial of this cause of action, Plaintiff respectfully
demands this Honorable Court uphold well-settled American Law and Jurisprudence and apply
such authority to the specific facts which have been established herein, and Render a Judgment
for Damages and Judgment for “Quiet Title” in favor of Plaintiff against all “named”
Defendants, and “all persons unknown” now or hereafter before this Honorable Court as of the
date of filing this Complaint.as to Plaintiff from and against each defendant, plus interest, cost
and attorney fees as allowed by law. Plaintiff reserves the right to amend this complaint at a

future date.

Respectfully Submitted,

- hb Tf 4
Dated this lst day of February 2017 ke Ch Mhcwwr 2 BY? -
Otis the III of the Williams family

Page 32 of 32
Case 2:17-cv-10637-SFC-DRG ECF No.1, PagelD.56 Filed 02/28/17 Page 56 of 63

POOR QUALITY ORIGINAL

UCC FINANCING STATEMENT

FOLLOW INSTRUCTIONS

NAME & PHONE OF CONTACT AT FILER (optional)
Otis Williams III

B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)

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| Otis Williams 11
P.O, Box 2637

Ml 49016

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i Battle Creek
hae

Michigan Department of State - Uniform Commercial Code

Document Number:

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THE ABOVE SPACE |S FOR FILING OFFICE USE ONLY

4. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify,
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or abbreviate any part of the Debtor's name); if any part of the Individual Debtors
and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCCIAd)

Ta. ORGANIZATION'S NAME

OR

1b. INDIVIDUAL'S SURNAME

FIRST PERSONAL NAME
SIMMONS | GREGORY

ADDITIONAL NAME(SYINITIAL(S) SUFFIX

1c. MAILING ADDRESS

CITY
2304 CHICAGO BLVD DETROIT

COUNTRY
USA

{STATE |POSTAL CODE
Mi 48203

2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or
name will not fit in line 2b, leave ali of item 2 blank, check here

abbreviate any part of the Debtor's name); if any part of the Individual Debtor's

L] and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

Za. ORGANIZATION'S NAME

OR Fe INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ~ ADDITIONAL NAME(S)ANITIAL(S) SUFFIX
SIMMONS MARILYN

“36 MAILING ADDRESS CITY STATE |POSTAL CODE COUNTRY
2304 CHICAGO BLVD DETROIT MI 49016 USA

4. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY}: Provide only one Secured Party name (3a or 3b)

3a, ORGANIZATION'S NAME

ADDITIONAL NAME(S)INITIAL(S)

OR Pap, INDIVIDUAL'S SURNAME FIRST PERSONAL NAME
WILLIAMS Ill OTIS

3c. MAILING ADDRESS CITY
P.Q. BOX 2637 BATTLE CREEK

COUNTRY
USA

POSTAL CODE
49016

4. COLLATERAL: This financing statement covers the following collateral:
THE HEREIN NAMED SECURED PARTY NOW
_ DESCRIPTION: N CHICAGO BLVD
954 JOY SU L32 P39-40 PLATS, W
RECORDS; COMMONLY
KNOWN AS : 2304 CHICAGO BLVD, DETROIT, MICHIGAN 48206,
OTIS WILLIAMS

PLACES THE LAWFUL LIEN ON THE PROPERTY WITH THE PARTIAL LEGAL
CR 10/99 50 167.50 NEZH #2006-1808, AD VALOREM PARCEL #10002727, WAYNE COUNTY

PER PRIVATE SECURITY AGREEMENT DATED: 4/7/2016, BETWEEN

iI, GREGORY A. SIMMONS AND MARILYN SIMMONS, FOR THE FULL AMOUNT OF TWENTY SEVEN THOUSAND DOLLARS and THREE

CENTS ($27,000.03
).

5. Check only if applicable and check only one box: Collateral is LL) held in a Trust (see UCC1Ad, item 17 and Instructions)

| being administered by a Decedent's Personal Representative

6a, Check only if applicable and check only one box:

Cl Public-Finance Transaction L] Manufactured-Home Transaction
IAAT

L A Debtor is a Transmitting Utility

6b, Check only if applicable and check only one box:
Agricultural Lien [_] Non-UCC Filing

+ ALTERNATIVE DESIGNATION (if applicable): [_| Lessee/Lessor [__] Consignee/Consignor

C] Seller/Buyer LJ Bailee/Bailor oO Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:

FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)

International Association of Commercial Administrators (ACA)
Case 2:17-cv-10637-SFC F
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Wayne Gounty Register of Deeds

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@.0, Box 2657
Blatt le Creek, Mi 49916 USA
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48784 HUNTINGTON ROAD
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CORNELIUS NOW TRANSFERS AND ASSIGNS OVER TO HIMSELF THE SHERIFF DEED NUMBER 207 603866, ATTACHED TO
THE FIXTURE REAL ESTATE 16781 HUNTING TON ROAD ON THE LAND OF THE MICHIGAN REPUBLIC AT LOT 2923, OF
ROSEDALE PARK SUBDI VISION ON & ACCORDING TO THE PLAT THEREOF AS © ORDER LIBER 80. PAGE 89 OF
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ROAD, DET PROT. hf CHIGAN 48279 PER PRIVATE AGREEMEN TDATED JUNE 2072 BETW EEN OTIS WILLIAMS HH AND
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Case 2:17-cv-10637-SFC-
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UCC FINANCING STATEMENT ADDENDUM

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FIRST PERSONAL NAME
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c7, [7] ADDITIONAL SECURED PARTYS MME ag [C] ASSIGNOR SECURED PARTY'S NAME:
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ATE TRUST PO BOX 4637 BATTLE CREEK SEC HIGA PLATS WAYNE COUNTY RECORDS TAX PARCEL [DB 92089899 MO
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UCC FINANCING STATEMENT

FOLLOW INSTRUCTIONS

" NAME & PHONE OF CONTACT AT FILER (optional)

A
OTIS WILLIAMS 111 2696012055
5 EMAIL CONTACT AT FILER (optional)

Cc SEND ACKNOWLEDGMENT TO. (Name and Address)

[~ oS WILLIAMS 11) 2696012055 ~ |
WILLIAMSFUNDING INC

P.O. BOX 2637

BATTLE CEEK, MI USA 49016

THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1 DEBTOR'S NAME: Provide only one Debtor name ({a or 4b) (use exact, full name. do not omit, modify, or abbreviate any part of the Debtor's name), if any part of the Individual Debtor's
name wil not fit in line 1b, Jeave all of item 1 blank, check here CI and provide the Individual Debtor information in item 40 of the Financing Statement Addendum (Form UCC1Ad)

Ta ORGANIZATION'S NAME
STRATEGIC GLOBAL INVESTING

DIVIDUAL'S SURNAME

OR

FIRST PERSONAL NAME ADDITIONAL NAME(S)ANITIAL(S) SUFFIX

1c. MAILING ADDRESS POSTAL CODE

CITY
2500S SCHAEFER HWY DETROIT 48217

2. DEBTOR'S NAME: Provide only one Debtor name (2a of 2b) (use exact, full name: do not ommt, modify, or abbreviate any part of the Debtor's name). if any part of the individual Debtors
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2a. ORGANIZATION'S NAME

2b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)ANITIAL(S) SUFFIX

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3. SECURED PARTY'S NAME (0
3a ORGANIZATION'S NAME

1 NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only QN& Secured Party name (3a of 3)

OR

FIRST PERSONAL NAME

oTIS

CITY

BATTLE CREEK

Jp INDIVIDUALS SURNAME
WILLIAMS

3c. MAILING ADDRESS

P.O. BOX 2637

4. COLLATERAL: This financing statement covers the following collateral’
The Herein named Secured Party now places 4 lawful lien on the proerty legally described as:

W SCHAEFER HWY, 607 THRU 610 MARION PARK NO 1 L55 p25 PLATS, W CR 20/456 80 X 100, commonoly known
as 2500 S. Schaefer Hwy, Detroit, MI 48217, in the full amount of SIXTY THOUSAND US. DOLLARS and ZERO CENTS
($60,000 U.S.D.) per private agreement.

5 Check only if applicable and cneck only one box: Collateral |S {_ \hera in a Trust (see UCCIAd, item 47 and instructions) | |being administered by 4 Decedent's Personal Representative

a

6a Check only if applicable and check only one box. . 6b. Check only if applicable and check only one box:
Cl Public-Finance Transaction {| Manufactured-Home Transaction V1 A Debtor is a Transmitting Utility V1 Agricultural Lien ql Non-UCC Filing
7 ALTERNATIVE DESIGNATION {if applicable). Cl Lessee/Lessor {| Consignee/Consignor L) Seller/Buyer CE] Bailee/Bailor CI Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:

International Association of Commercial ‘Administrators (ACA)
FILING OFFICE COPY — ucc FINANCING STATEMENT (Form UCC1) (Rev. 04/20/41)
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uce FINANCING STATEMENT

FOLLOW INSTRUCTIONS

AL NAME & PHONE OF CONTACT AT FILER (optional) : Date of Filing ° 06 (27 /201 4
Otis Williams TT : “en
HS E-MAIL CONTACT AT FILER (optional) ue or ene ; oe Se S403 7
ile Number : = =
<< SEND ACKNOWLEDGMENT TO: (Name and Address) Lapse Date : NONE
| Otis Williams ITT. ~|
P.O. BOX 2637.
j Battle Creek MI USA 49016 |
THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1. DEBTOR'S NAME: Provide only ene Debtor name (ta or 1b) (use exact, full name, do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the individual Debtor's
name will not fit in fine 1b, leave all of item 1 blank, check here Ol and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Farr UCC1 Ad)

Ta, ORGANIZATION'S NAME

ORT INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)ANITIAL(S) SUFFIX
KING CHRISTOPHER N
“te. MAILING ADDRESS CITY STATE |POSTAL CODE COUNTRY
3990 WELLINGTON ST INKSTER MI | 48141 USA

omit, modify. or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's

2, DEBTOR'S NAME: Provide only one Debtor name (20 or 2b) (use exact, full name; do not
Statement Addendum (Form UCC1Ad)

name will not fit in line 2b, leave alt of item 2 blank, check here O and provide the Individual Debtor information in item 10 of the Financing

2a. ORGANIZATION’S NAME

OR FIRST PERSONAL NAME ADDITIONAL NAME(SMINITIAL(S) SUFFIX

2b. INDIVIDUAL'S SURNAME

2c. MAILING ADDRESS CITY . STATE |POSTAL CODE COUNTRY

3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only ong Secured Party name (3a oF 3b)
Qa. ORGANIZATION'S NAME

OR 3b, INDIVIDUAL'S. SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)/INITIAL(S) SUFFIX
Williams Otis i
3c. MAILING ADDRESS . CITY STATE |POSTAL CODE COUNTRY
P.O. BOX 2637 Battle Creek MI | 49016 USA

4. COLLATERAL: This financing statement covers the following collateral:
Secured Party now files a lawful lien on the property legally described as a 2006 GM LIGHT

ENVOY-16, VIN NO: 1GKDT1 35862233587, for the full amount of FIFTY THOUSAND DOLLARS
(U.S.D.), per security agreement.

e - a
5. Check gnly if applicable and check only one box: Collateral is tj held in a Trust (see UCCtAd, item 17 and Instructions) being administered by a Decedent's Personal Representative
6b. Check only it applicable and check only one box:

6a. Check only ff applicable and check anty one box:
(J Public-Finance Transaction 7 Manufactured-Home Transaction A Debtor Is a Transmitting Utility V) Agricultural Lien { | Non-UCC Filing
C1 Seller/Buyer {| Bailee/Ballor C] teensee/Licensor

7. ALTERNATIVE DESIGNATION (if applicable): [_] LesseetLessor [_} Consignee/Consignor
8. OPTIONAL FILER REFERENCE DATA:

FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC) (Rev. 04/20/11) __ Taternational Association of Commerctal Administrators (VACA)
*s PAGE 1 OF 1 ° 2014-178-6403-7
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.61 Filed 02/28/17 Page 61 of 63

IS 44 (Roy. O8/16) CIVIL COVER SHEET County in which action arose: n Wawa
¥
The #8 44 civil cover sheet and the information contained herein neither replace nor supplement the fil:

provided by local rules of court. This form, approved by the Judicial Conference of the United States in Sept
purpose of initiating the civil docket sheet. (SEK INSTRUCTIONS ON NEXT PAG: OF THIS FORM)

1. (a) PLAINTIFFS _ DEFENDANTS: - '
Otis Williams LE John Van Cae,
Does 1-

(b) County of Residence of First Listed Plaintiff County of Residence o
(EXCEPT IN U.S. PLAINTIFF CASES)

Orleans Preish NOTE: eye

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AES ONLY;
BE OQCATION OF

(c) Attorneys (Firm Name, Address, and Telephone Number Attomeys (if aan!
if. BASIS OF JURISDICTION (Place an “X" in One Box Only) TH. CRTIZENSHIEP OF PRES EP AL PARTIES (Plave at CX" in One Bax fori
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Oo | U.S. Government oO 3 Federal Question PE: PES PTF DET

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ress In This State

Plaintiff (iS. Government Nota Party} Citizer of This Siste

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Detendant (indicate Citizenshiy of Parties in dtem 11)

Citizes or Subject of a
Forcign County

IV. NATURE OF SUIT Place an “XN” in One Box Oniy) (yok here for

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Lt CONTRACT. TORTS FORFEFPURE/PENALTY. BRASIL PEC OTHER $ PETES }
(C1) tid Insurance PERSONAL INJURY PERSONAL INJURY [625 Drug Related Sei © USS (Ol 205 False Claims Act .
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130 Miller Act 315 Airplane Product Product Liability (626 Other 3729G4
140 Negotiable Instrament Liability (0 367 Health Care? [] 40 Staie Reapporticais:
(1 150 Recovery of Overpayment |{7]320 Assault, Libel & Pharrnaccutica: ORUPE RT Y RIGITES (] 4:0 Aniitrast
& Enforcement of Judgment Slander Personal Injury i ih (0 430 Banks and Bank jig
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(Excludes Veterans) (7345 Marine Product Liabiry LABOR : si Corsupt Organizatiy
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(J 190 Other Contract Product Liability (] 380 Other Persona! Relators iP ys
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REAL PROPERTY CIVIL RIGHTS PRISONER PETTTIONS [7] 79) Einnlovee Retiro J Act
] 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: Income Seourit 1 8¢6 Arbitration
[] 224 Foreclosure 441 Voting [1] 463 Alien Detainee C1] 899 Administrative Procedure
[J] 2 230 Rent Lease & Ejectment 442 Ernployment oO 510 Motions to Vacate Act/Review or Appeal of
[_] 240 Torts to Land 443 Housing’ Sentence aby xi Agency Decision
} 245 Tort Product Liability Accormmodations O 530 General : oO 950 Constitutional f
F-] 290 Alt Other Real Property — | [[] 445 Amer. w/Disabilities - |Z] 535 Death Penalty TMVIGRATIOS : State Statutes
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Cite the U.S. Civil Stacute under which you are filiag (Do sot cite jesisdictional ssatuses aivlens wiveovit
4S ¢.
VI. CAUSE OF ACTION >> as . ovo

Brief description of cause:

VII. REQUESTED IN CHECK IF THIS {S A CLASS ACTION DEMAND § Toe <Sijreaamndel nbomphne
COMPLAINT: UNDER RULE 23, F.R.Cv.P. jules DEM exp: Bes oh
Vil. RELATED CASE(S) a terrence
IF ANY Gee more ONGE cee USOC PT NUMBER
DATE SIGNATURE Ie) SERgCORR

Al, 20/7 ES De? hl a0

FOR OFFICE USE ONLY .

RECEIPT # AMOUNT APPLYING IFP JUDCd MAG, JUDGE
Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.62 Filed 02/28/17 Page 62 of 63

PURSUANT TO LOCAL RULE 83.11
1. Is this a case that has been previously dismissed? [| Yes
If yes, give the following information:

Court:

Case No.:

Judge:

2. Other than stated above, are there any pending or previousiy
discontinued or dismissed companion cases in this or any ctner x Yes
court, including state court? (Companion cases are matters in which | No
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same
transaction or occurrence.)

If yes, give the following information:

cout; 2ut* Distaicr Courr

Case No.: Io-3AS983/LT and 'o-3 89/48 eT
Judge: one & Millender

Notes :

Case 2:17-cv-10637-SFC-DRG ECF No. 1, PagelD.63 Filed 02/28/17 Page 63 of 63

New Lawsuit Check List

Instructions: Put a check mark in the box next to each appropriate entry to be sure you have all the required documents.

@ Two (2) completed Civil Cover Sheets. |
oN Enter the number of defendants named in your 40637

lawsuit in the blank below, add 2 and then i C iL case Linda

total in the blank. judge: Pa David R.
i. UL MJ: Grane 2017 At 04:38 P ET AL (NA)

ol +2= omplaints mn Filed: Oe LIAMS vy. VAN CA\
¥ of Defendants oS CMP Wi rECKE
Received by ce) Addresses are AD

C) | Ifany of your defendants are government sgencies:
Provide two (2) extra copies of the complaint for the U.S. Attorney and the Attorney General.

If Paying The Filing Fee: If Asking That The Filing Fee Be Waived:
OC Current new civil action filing fee is attached. Two (2) completed Application to Proceed in District
Court without Prepaying Fees or Costs forms.

Fees may be paid by check or money order made out to:

Clerk, U.S. District Court

Received by Clerk: Receipt #: Received by fe ;

Select the Method of Service you will employ to notify your defendants:

Service via Summons Service by U.S. Marshal Service via Waiver of Summons
by Self (Only available if fee is waived) (U.S. Government cannot be a defendant)
OO Two (2) completed OC Two (2) completed OC You need not submit any forms regarding the Waiver
summonses for USM — 285 Forms per of Summons to the Clerk.
each defendant defendant, if you are
including each requesting the U.S. Once your case has been filed, or the Application to
defendant’s name Marshal conduct service Proceed without Prepaying Fees and Costs has been
and address. of your complaint. granted, you will need:
@ One (1) Notice of a Lawsuit and Request to
DO Two (2) completed Waive Service of a Summons form per
° Request for Service by defendant.
eo U.S. Marshal form. * Two (2) Waiver of the Service of Summons forms
N wee per defendant.
\
N Send these forms along with your filed complaint and
Received by Clerk: _ Received by Clerk: _ a self-addressed stamped envelope to each of your
defendants.

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Note any deficiencies here: (ysl | bri We 2] ) Copir2r 0

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CO OC)

Rev. 4/13
